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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

STEPHEN P. LAFFEY

V. CA 05-206ML
ROGER N. BEGIN, Chairman,
State Board of Elections and
STATE BOARD OF ELECTIONS

MEMORANDUM AND ORDER
This matter is before the Court on defendants’ motion to dismiss. Plaintiff has
filed an “objection,” however, he asks that he “be allowed to voluntarily dismiss his case
without prejudice . . . in light of the change in circumstances that has taken place since
the date he first filed his Complaint with this Court.” Plaintiff advises that his recent
declaration of his intention to run for a seat in the U.S. Senate renders this case moot.
Rule 41(a)(1)(i) of the Fed. R. Civ. P. provides, in part, that

“an action may be dismissed by the plaintiff without order of

court (i) by filing a notice of dismissal at any time before

service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs. .. .”
In this case, defendants have not filed an answer or a motion for summary judgment.
Defendants have filed two motions to dismiss. One was filed on May 11, 2005, based
on the abstention doctrine. That motion remains pending. The instant motion was filed
on September 6, 2005; it appears to be based on plaintiffs failure to prosecute the
action. The Court notes that after plaintiff took an interlocutory appeal to the First

Circuit Court of Appeals, both sides agreed to the entry of a “Stipulated Order to Stay

Further Proceedings,” entered July 18, 2005. That order provided, in part, that “[t]he
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Plaintiff shall file a petition for a writ of certiorari with the Rhode Island Supreme Court,
to be joined by Defendants.” The order further provided that this case would be stayed
pending resolution of the petition for writ of certiorari. Plaintiff has not, as of the filing of
the instant motion to dismiss, filed a petition for writ of certiorari with the Rhode Island
Supreme Court. Defendants now seek a dismissal of “this case in its entirety” with
prejudice.

In his response to the motion to dismiss, plaintiff “suggests that he be allowed to
voluntarily dismiss his case without prejudice. .. .". The Court takes plaintiff's response
as a “notice of dismissal” filed pursuant to Fed. R. Civ. P. 41(a)(1)(i). Since plaintiff
has complied with the requirements of Fed. R. Civ. P. 41(a)(1)(i), this Court has no
authority to dismiss with prejudice. See Universidad Central Del Caribe, Inc. v. Liaison
Committee on Medical Education, 760 F.2d 14 (1* Cir. 1985).

Accordingly, this case is dismissed without prejudice.

SO ORDERED:

MaryM. si”
United States District Judge

October 3% , 2005

 
